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                                         January 30,2025
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                                                                                               ^02025%,
Ronald V. Dellums Federal Building & United States Courthouse                          D/str         ®o(;
c/o Class Action Clerk                                                                Oakland
1301 Clay Street                                                                                    ^
Oakland, CA 94612

        Re:    Objection to House v. NCAA Settlement Agreement due to (i) Unreasonable Denial
               of Damages Concerning Division 1 PBS Preferred Football Walk 0ns

To whom it may concern.

       My name is Byron Keaton. My address is 2355 Thomas Avenue, Dallas, Texas 75201. My
email address is byronkeaton5@rocketmail.com. My NCAA ECID number is 1408806404. The
formal identification of the case to which this objection relates is In re: College Athlete NIL
Litigation, Case No.4:20-cv-03919. IfI could attend virtually, I would be willing to speak only on
my own behalf if necessary (I am a licensed attorney).

         I was a "preferred" walk on football player at the University of Arkansas, and I am a
plaintiff with a filed claim concerning House v. NCAA. Though I appreciate that attorneys have
brought this case on my behalf and though I have trusted throughout this process that my attorneys
would reasonably represent the interest of all of their clients to whom they owe a fiduciary duty, I
do not appreciate that current and former Division 1 FBS preferred football walk ons (such as
myself)are yet again being baselessly excluded from the compensation they deserve. Additionally,
it is wrong to include scholarship limits in the general release forced upon all players when (a)
scholarship limitations were not an issue that is relevant to any claim raised in the lawsuits related
to this settlement and(b)all ofthe class representatives had full scholarships, meaning they could
not have possibly litigated the claims related to scholarship limitations. Therefore, I hereby
formally object to the current terms ofthe House v. NCAA settlement agreement for the following
reasons:



    1) There is no reason set forth in any of the court documents concerning this case that
       supports the assumption that BNIL payments would not have been given to Division
       1 FBS football walk ons. Therefore, Division 1 FBS football walk ons should receive
       BNIL damages payments, and any settlement that denies such damages payments to
       Division 1 FBS football walk ons is unreasonable.


   2) BNIL payments to Division 1 FBS football players would not have been limited in quantity
      or limited to scholarship players. BNIL payments would have been given to Division 1
      FBS football preferred walk ons as well. Therefore, Division 1 FBS preferred football walk
      ons should receive BNIL damages payments.

           a) As was expressly noted by in the Order Granting Motion for Certification of
              Damages Classes issued in connection with this case. Division 1 FBS football
              players would not "have had to compete with each other for BNIL payments that
              are limited in quantity." In such order, the court made it clear that this situation
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          would not be one where "only some (but not all) of the proposed class members
          would have been able to receive a BNIL payment." In such order, this court also
          expressed that it understands that "Plaintiffs' theory of liability does not require
          each proposed class member to prove his or her entitlement to BNIL damages in a
          manner that would necessarily eliminate the recovery of other class members." If
          that is the case, then all Division 1 FBS football players should be entitled to BNIL
          damages.

       b) Division 1 FBS football walk ons received the additional benefits that Division 1
          FBS football programs were able to provide to their walk ons, especially benefits
          that were related to marketing and brand exposure. For example, walk ons were
          provided all of the branded clothing provided by the apparel companies affiliated
          with the football programs. Additionally, Division 1 FBS football walk ons were
          provided the same monetary payments and received all other gifts provided to all
          the Division I FBS football when they would attend bowl games. Other non-
          marketing related monetary payments were also given to walk ons in the program
          under the same terms as other players such as travel per diem paid to players when
          they travel for games. Ultimately, Division I FBS football walk ons received the
          additional non-academic benefits that Division 1 FBS all football programs
          received the benefits provided to the scholarship players (including injured
          players), and the current allocation of BNIL damages is unreasonably out-of-touch
          with the reality of the provision of non-academic benefits to Division 1 FBS
          football walk ons.

      c) Dr. Rascher's expert opinion, which is relied upon as the basis for the estimation of
         damages, provides that "there likely would be other Division I football and
         basketball players who would have received Broadcast NIL payments in the but-
         for world in which such payments were permitted." Rascher Rep. at 73.

3) There are some Division I FBS football walk ons who would have commanded more
   money as compensation for their name, image, and likeness than some of the Division 1
   FBS football scholarship players that are receiving BNIL payments, and there are some
   Division I FBS football walk ons who played in more games and appeared on college
   football broadcasts more than some ofthe Division 1 FBS football scholarship players that
   are receiving BNIL payments. Therefore, Division 1 FBS football walk ons should receive
   BNIL damages payments.

       a) I was a 3-star recruit and number 1 ranked comerback in Arkansas coming out of
          high school with a Division I FBS scholarship offers for football at smaller Division
          I FBS schools. I also received offers from FCS schools and recruited to be a
          "preferred" walk on at other prestigious programs like Oregon and Texas. I
          could've been a Division 1 FBS scholarship player at another school, but I chose to
          accept an academic scholarship to play football in my home state and play in the
          Southeastern Conference, arguably the highest level of collegiate football. I
          participated and experienced immense success at several camps throughout my
          high school career while being offered to play for a high school national football
          all-star game with NUC and a statewide all-star game. Even though I would
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             eventually walk on at the University of Arkansas, by marketing myself to many
             fans, teammates, and social media users, my NIL value was likely substantially
             higher than some of the scholarship players in my football class at the University
             of Arkansas and scholarship players at other Division 1 FBS football programs. I
             played in at least 12 games my redshirt freshman year and earned my lettermen. I
             played on three different special teams units and recorded snaps on defense, and I
             followed up the next year with more snaps on special teams. There are scholarship
             players from my class that did not record any snaps or appear on broadcasts that
             are likely set to receive more than me. There is no reasonable explanation that
             supports the assertion that such person is more entitled than me to reeeive a BNIL
             damages payment.

       b) Baker Mayfield began his college career as a walk on, but he was the freshman
          offensive player of the year for his Division 1 FBS conference. He later walked
          onto a different football program after the school he was at did not award him a
          scholarship. At that time, he surely would've commanded more compensation for
          his name,image, and likeness than some ofthe Division 1 FBS football scholarship
          players that are receiving BNIL payments. Mr. Mayfield was awarded a scholarship
             by the 2"''football team that he walked onto as soon as a scholarship came available.
             Mr. Mayfield then won the Heisman Trophy, the most prestigious award in college
             football, in 2017(during the time period at issue in this lawsuit) and was selected
             as the first pick in the 2018 NFL draft.

       c) After my redshirt freshman year, I was recognized as Brandon Burlsworth scholar
          for my exceptional athletic and academic achievement. Similar suited non-athletes
             received a $5,000 check from the Brandon Burlsworth Foundation. I reached out to
             the foundation, and they redirected me to the University of Arkansas. Per NCAA
             compliance rules at the time, I was unable to receive the $5,000 deal because it
             would be deemed a NIL payment or athletic scholarship at the time. This evidences
             I was more marketable than the current settlement.

4) The court recognized in the Order Granting Motionfor Certification ofDamages Classes
   issued in conneetion with this case that there are no Title IX considerations that would limit
   the amount of BNIL damages that could be paid to Division 1 FBS football walk ons.
   Therefore, Division FBS football walk ons should receive BNIL damages payments.

5) It is wrong to include scholarship limits in the general release forced upon all players when
   (a) scholarship limitations were not an issue that is relevant to any claim raised in the
   lawsuits related to this settlement and (b) all of the class representatives had full
   scholarships, meaning they could not have possibly litigated the elaims related to
   scholarship limitations. The doctrine of the "identical factual predicate" would almost
   certainly cause the scholarship limitation portion ofthe general release to be unenforceable
   because the facts relevant any action concerning scholarship limitations are not present in
   this class action. See TBK Partners, Ltd. v. Western Union Corp., 675 F.2d 456 (2"'' Cir.
    1982).
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The forgoing assertions summarize the reasons for my objection to the proposed settlement
agreement in House v. NCAA. I hereby object to the proposed settlement agreement and request
to speak virtually at the Final Approval Hearing or receive additional compensation comparable to
the scholarship players at the University ofArkansas who also lettered.

                                            Sincerely,


                                            /s/ Bvron T. Keaton
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